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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,
                                                    NO: 2:13-CR-177-RMP-3
 8                             Plaintiff,
                                                    ORDER GRANTING MOTION TO
 9         v.                                       MODIFY CONDITIONS OF
                                                    RELEASE
10   AMANDA E. CURRY (3),

11                             Defendant.

12

13         Before the Court is Defendant Amanda Curry’s Motion to Modify

14   Conditions of Release, ECF No. 223. Ms. Curry requests the Court to modify her

15   conditions of release so that she may take her children to visit their father, Stafone

16   Fuentes, who was charged in this matter and who currently is incarcerated.

17         At a hearing on this motion, counsel for Ms. Curry explained that only a

18   legal guardian is permitted to accompany minor children to visit inmates. The

19   Government strongly objects to Ms. Curry’s request but confirmed that the

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 1   Spokane County Jail allows only a legal guardian to bring minor children to the

 2   facility. ECF No. 226.

 3         After careful consideration, the Court finds good cause to modify the

 4   conditions of Ms. Curry’s release so that she may take her children to visit their

 5   father.

 6         Accordingly, IT IS HEREBY ORDERED:

 7             1. Defendant Amanda Curry’s Motion to Modify Conditions of Release,

 8                ECF No. 223, is GRANTED.

 9             2. Paragraph 14 of Defendant Amanda Curry’s conditions of release is

10                modified so that she may have contact with Stafone Fuentes for the

11                sole purpose of allowing Ms. Curry’s three children to visit Mr.

12                Fuentes.

13             3. All other conditions of Ms. Curry’s release remain as stated in the

14                Court’s prior orders.

15         The District Court Clerk is directed to enter this Order and provide copies to

16   counsel and to the U.S. Probation Office.

17         DATED this 10th day of July 2015.

18
                                                   s/ Rosanna Malouf Peterson
19                                             ROSANNA MALOUF PETERSON
                                             Chief United States District Court Judge
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